2?-Jun-224 «208: 81 Fron: +13308709168 p.2

Exhibit 2 to Objection

Paul Billinger ne 27 PY bs 3
ae

From: Paul Billinger < paul billinger@tareaconsulting.com> “

Sent: June 3, 2024 10:09 AM

To: 'KATE.M.BRADLEY @usdoj.gov'

Ce: ‘Fred Schwieg'; Zurn, Julie Kaplan’

Subject: RE: New Evidence Fraudulent Transfer Cases Squirrels Research Labs LLC and The

Midwest Data Company LLC (21-61491)

Whistleblower leak:
https://tinyurl.com/4kin4fdh

(best evidence nearer the end of conversation)

From: Paul Billinger <paul.billinger@toreaconsulting.com>

Sent: June 3, 2024 9:48 AM

To: 'KATE.M.BRADLEY @usdoj.gov' <KATE.M.BRADLEY @usdoj.gov>

Ce: ‘Fred Schwieg' <fschwieg@schwieglaw.com>; ‘Zurn, Julie Kaplan’ <jzurn@brouse.com>

Subject: RE: New Evidence Fraudulent Transfer Cases Squirrels Research Labs LLC and The Midwest Data Company LLC
(21-61491}

To be clear, this is not a case of people getting over their heads or exercising poor judgement. This is a conspiracy to
methodically and deliberately con and defraud multiple parties for multi-million dollar damages.

| have the evidence to back up these assertions (whistleblower Telegram leak below). These crimes, in addition to the
18 U.S.C. § 3057 Bankruptcy Frauds previously identified, must compel you to action. The data leak contains evidence of
an elaborate con (worthy of a Hollywood movie script), which should be taken into consideration with evidence
previously provided.

| believe that we are approaching sufficient evidence to secure criminal convictions, maybe even a RICO case with
additional probing and coordination with the ongoing Maranda FBI investigation. | am unsure how we can use this
information to secure the return of funds to the unsecured creditors. Hopefully, with your knowledge and expertise you
can find a path. Maybe a plea deal could include return of embezzled assets in return for a reduced sentence. These
individuals will not fair well in penitentiary, so will be anxious to mitigate their time. Act quickly, as additional spoilation
is likely to occur when Mr. Stanfill frantically tries to front run this.

There are some wallets mentioned in the leaked documents. You may be able to trace funds flowing through associated
wallets. Also, the Telegram chat should continue on beyond the scope of the leak, so you may be able to subpoena the
records in their entirety. Also, you can use DOJ authority to acquire any suppressed records that have survived
spoilation. Additional evidence will reside in Slack, email, shipping records, accounting records, crypto exchange
statements, crypto wallet transactions, phone records, and security camera footage.

Please note that spoilation has already occurred. “Deleted User” is Mr. Stanfill. He attempted to destroy all the
evidence, but fortunately deleting a User Id does not delete that conversation history of the other parties. The pictures
posted by Deleted User establish that this is in fact, Mr. Stanfill.

Following is evidence of a conspiracy to con investors out of $155 million USD (follow the link provided to access the

complete data leak archive}. There is much technical language. I’ll provide a shart summary, but even a non-technical
person will be able to recognize the con.

21-61491-tnap Doc 353 FILED 06/27/24 ENTERED 06/28/24 08:23:57 Page 1of7

27-Jun-2824 = 20:82 From: 413308709166 p.3

1. Mr. Stanfill approaches investors for large cash injections based on claims that he has invented a crypto mining
machine that is >30x more profitable than any in existence.

2. Mr. Stanfill sets up demonstrations in North Canton, OH. He does not actually have the claimed product so
conspires with 2 accomplices to create fictitious results.

3. Mr. Stanfill solders a Radio Frequency chip onto his development board, taking elaborate methodical
precautions to conceal it.

4. Mr. Stanfill’s accomplices set up a hidden GPU farm that performs actual work to be presented as work
performed by the development board.

5. Mr. Stanfill’s accomplices write software to bridge the GPU farm work product to the development board,
obfuscating in order to deceive the investors.

6. All conspirators conspire to conceal their deception by anticipating due diligence efforts of the investors and
undertaking deliberate premediated actions to thwart them.

7. Mr. Stanfill attempts to obtain $55 million USD FROM EACH INVESTOR, apparently without disclosing to the
other parties who each believe they are purchasing the entire stock.

8. The conspirators demonstrate disdain and contempt for the investors that they are attempting to partner with.
They have absolutely no reservations or remorse.

Some excerpts, but the entire data leak should be reviewed for context and additional supporting evidence:

Deleted Account 01:44
Ok.

Dj: Dave investor looking to maybe buy all’board stock 01:44
Thrée way bidding war for $3514 in HEM boards 01:44

a OhGodABird. 01:45
| ' bs everyone ihterested'in. the ETH: bitstream, or is someone In just for

the Hardware itself?

Deleted Account 04245.
Seems for Peay we could probably build quite a-bit of insane
hardware ,

My main concerns are: 21:35

1. The not quite inconspicuous Flere siaarae amas ceo nei

Main risk scenarios are: 21:39
1. Question patch on dev board, | added thermal grease aver chips-to
_ be sure no picture would identify the RF chip

‘Deleted Acoount- 21 49

Mitigation technique 1: itis possible for meta egies a iuisweni a
[ecleRtaedeir rang teestaL ste eye wm riye ig cise i iels (ets :

Details in this whistleblower leak:
<< link omitted as it may not pass email filter. | will send via separate email, but you may not receive it >>
Note: the Zip file contains a Telegram chat extract and contains no unsafe files or executables.

While the conspirators were initially united in their pursuit by greed, relationships soon broke done over how to divide

the spoils (as per sources outside the data dump).
The following relationships turned hostile

21-61491-tnap Doc 353 FILED 06/27/24 ENTERED 06/28/24 08:23:57 Page 2 of 7

27-Jun-2824 «28:82 From: +13360789168 p.4

1. David Stanfill —- Michael Maranda

2. David Stanfill— Richard Aerton

3. Daniel Meszaros (OhGodABird) — Richard Aerton
This breakdown may explain the emergence of this data leak; it appears to originate from Richard Aerton.
Given the animosity, Aerton may be amenable to a plea deal in exchange for testimony against the others.

Mr. Stanfill is revealed as a criminal mastermind who is adept at persuasion and social engineering. He may have used
these skills against Brouse to deceive them into preparing the fraudulent bankruptcy filings.

The conspirators are self-styled Spartans and Stanfill fancies himself as a biblical Gideon, but their deeds indicate that
more accurately they are servants of Mammon.

Regards,
Paul Billinger

From: Paul Billinger <paul.billinger@toreaconsulting.com>

Sent: May 6, 2024 12:38 PM

To: 'Fred Schwieg' <fschwieg@schwieglaw.com>

Ce: 'KATE.M,BRADLEY @usdoj.gov' <KATE.M. BRADLEY @usdoj.gay>

Subject: New Evidence Fraudulent Transfer Cases Squirrels Research Labs LLC and The Midwest Data Company LLC (21-
61491)

Will it help your cases to establish a extensive web of interconnected related frauds?

In addition to the compelling and substantial evidence that | have previously provided, there is additional evidence of
fraud and securities fraud where David Stanfill presented falsified results while soliciting investments. In non-technical
language, he presented work as being done by equipment he designed and sold, when in fact he had prepared other
equipment to spoof the results.

Here is where he admits it:

21-61491-tnap Doc 353 FILED 06/27/24 ENTERED 06/28/24 08:23:57 Page 3 of 7

p.5

+13306709160

Fron

43

27-Jun-2242

57 Page4of7

23:

21-61491-tnap Doc 353 FILED 06/27/24 ENTERED 06/28/24 08
27-Jun-2824 20:64 From: +13308789168 p.6

More evidence is available as well as witness testimony.
Some of the victims are gathered on Discord. Do you need any Expert Witnesses or victim witnesses?

httos://discord.com/channels/439880012183896075/517993952276774914

Also, pay attention to the Objections and Replies that are being filed. The companies claiming the bulk of the insurance
proceeds have now been revealed to be related entitles under the influence of David Stanfill.

Regards,
Paul Billinger

From: Paul Billinger <paul.billinger@toreaconsulting.com>

Sent: April 9, 2024 2:47 PM

To: 'Fred Schwieg' <ischwieg@schwieglaw.com>

Ce: 'KATE.M.BRADLEY@ usdoj.gov' <KATE.M.BRADLEY @usdoj.gov>

Subject: RE: Insurance Settlement Squirrels Research Labs LLC and The Midwest Data Company LLC (21-61491)

| previously recommended to the US Trustee that MWDC be joined into the SOQRL bankruptcy and liquidated based on
the evidence of false filings and other malfeasance that | presented, | hope that this new Information will be taking into
account In this regard.

Regards,
Paul Billinger

From: Fred Schwieg <fschwieg@schwieglaw.com>

Sent: April 9, 2024 2:39 PM

To: Paul Billinger <paul.billinger@toreaconsulting. com>

Ce: KATE.M.BRADLEY @usdoj.gov

Subject; Re: Insurance Settlement Squirrels Research Labs LLC and The Midwest Data Company LLC (21-61491)

It’s not my decision per the plan. You need to talk to counsel
Sent from my phone

Frederic P Schwieg, Esq.
Attorney at Law

19883 Detroit Rd #239
Rocky River OH 44116
(440) 499-4506

On Apr 9, 2024, at 2:34 PM, Paul Billinger <paul.billinger@toreaconsulting,com> wrote:

‘ .
The fire insurance settlement order filed today is concerning. The order was granted without any notice
or chance to influence the outcome. As per the evidence | previously provided, MWDC is a facade only
and ail actual business was run through SQRL.

21-61491-tnap Doc 353 FILED 06/27/24 ENTERED 06/28/24 08:23:57 Page 5of7

a?—-Jun-2824 «28:84 From: +13308709160

The concern is that the majority of the settlement amount is being siphoned into MWDC (which really
should be liquidated) at the expense of SQRL’s creditors. As you may recall, MWDC was set up by Mr.
Stanfill to be insulted from creditors in preparation for his exit scam.

In this excerpt from the order, you can see that MWDC shareholders have secured the bulk of the
settlement, to the detriment of the SQRL creditors, In the absence of any reasonable justification,

| hope that you will take action to rectify this injustice. Even though the amount is relatively small, it isa
matter of principal. The full amount recovered should flow to SORL creditors. The MWDC stakeholders
are using complex financial engineering in order to continue plundering the assets that are rightfully the
SORL creditor's.

Regards,
Paul Billinger

From: Paul Billinger <paul.billinger@toreaconsulting.com>

Sent: March 21, 2024 9:44 AM

To: 'Kate.M. Bradley@usdoj.gov' <Kate.M.Bradley@ usdoj.gov>

Cc: 'Fred Schwieg' <fschwieg@schwieglaw.com>

Subject: FW: Outstanding Discovery Documents Squirrels Research Labs LLC and The Midwest Data
Company LLC (21-61491)

I've been stonewalled for years on my Discovery request. If we can obtain the financial documents and
all the exchange account transactions then we should be able to trace the transactions on-chain and
identify recoverable assets. The beneficial owner information of the accounts from Nexo, Coinbase, Biki,
Binance, etc. will provide additional evidence of comingling with Mr. Stanfill’s personal assets and
business entities.

In regard to the falsified Form 201, the transcript that | provided contains testimony from Mr. Stanfill
indicating that he had the TorEA debt on his accounting books prior to the bankruptcy. This was omitted
from the form. He also admitted during testimony that he had profit sharing agreements in place with
other entities. These known unpaid debts were also omitted.

You might want to coordinate with the FBI investigation into Michael Maranda, which is dealing with
related issues locating assets.

Regards,
Paul Billinger TorEA Consulting Ltd.

From: Paul Billinger <paul_billinger@toreaconsulting.com>
Sent: March 14, 2024 5:17 AM

To: ‘Zurn, Julie Kaplan’ <jzurn@brouse.com>

Subject: Outstanding Discovery Documents

I still haven’t received most of the Discovery requested. Please explain the delay.

6

21-61491-tnap Doc 353 FILED 06/27/24 ENTERED 06/28/24 08:23:57 Page 6 of 7

42¢-dun-2624 = 28:85 From: +13308769168 p.8

SQRL TORO569 is the last document that | received. Most of what | did receive was multiple copies of
the sare documents.

As a reminder, here are the must important of the outstanding items:

1. Performance Report
2. Wallets, beneficial owners, accounts, and transaction history for mined Ethereum, Escrow, and

other transactions related to my cards while rented by SQRL and also relating to any partial
payments

Virus-free. www. avg.com

21-61491-tnap Doc 353 FILED 06/27/24 ENTERED 06/28/24 08:23:57 Page 7 of 7

